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     Proposed Attorneys for Debtors and
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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BLOCKFI INC., et al.,                                          Case No. 22-19361 (MBK)

                                       Debtors.1                (Jointly Administered)

                                                                HEARING DATE AND TIME:
                                                                January 9, 2023, at 10:00 a.m. (EST)

                                                                ORAL ARGUMENT WAIVED UNLESS
                                                                OBJECTIONS TIMELY FILED


                           NOTICE OF HEARING OF
                  DEBTORS’ MOTION FOR ENTRY OF AN ORDER
          AUTHORIZING THE DEBTORS TO FILE UNDER SEAL THE NAMES
         OF CERTAIN CONFIDENTIAL TRANSACTION PARTIES IN INTEREST
       RELATED TO THE DEBTORS’ PROFESSIONAL RETENTION APPLICATIONS



 1     The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
       LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
       (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service
       address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
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          PLEASE TAKE NOTICE that a hearing on the Debtors’ Motion for Entry of an Order

 Authorizing the Debtors to File Under Seal the Names of Certain Confidential Transaction Parties

 in Interest Related to the Debtors’ Professional Retention Applications (the “Motion”) will be held

 on January 9, 2023 at 10:00 a.m. (prevailing Eastern Time) or as soon thereafter as counsel

 may be heard (the “Hearing”) before the Honorable Chief Judge Michael B. Kaplan, Clarkson S.

 Fisher United States Courthouse, 402 East State Street, Second Floor, Courtroom 8, Trenton, NJ

 08608.

          PLEASE TAKE FURTHER NOTICE that the Motion sets forth the relevant factual

 bases upon which the relief requested should be granted. A proposed Order granting the relief

 requested in the Motion is also submitted herewith.

          PLEASE TAKE FURTHER NOTICE that Objections, if any, to the relief requested in

 the Motion shall: (a) be in writing; (b) state with particularity the basis of the objection; and (c) be

 filed with the Clerk of the United States Bankruptcy Court electronically by attorneys who

 regularly practice before the Bankruptcy Court in accordance with the General Order Regarding

 Electronic Means for Filing, Signing, and Verification of Documents dated March 27, 2002

 (the “General Order”) and the Commentary Supplementing Administrative Procedures dated as of

 March 2004 (the “Supplemental Commentary”) (the General Order, the Supplemental

 Commentary and the User’s Manual for the Electronic Case Filing System can be found at

 www.njb.uscourts.gov, the official website for the Bankruptcy Court) and, by all other

 parties-in-interest, on CD-ROM in Portable Document Format (PDF), and shall be served in

 accordance with the General Order and the Supplemental Commentary, so as to be received on or

 before        January 2, 2023 at 4:00 p.m. (prevailing Eastern Time).




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        PLEASE TAKE FURTHER NOTICE that only those responses or objections that are

 timely filed, served, and received will be considered at the Hearing. Failure to file a timely

 objection may result in entry of a final order granting the Motion as requested by the Debtors.

        PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,

 the Motion shall be decided on the papers in accordance with D.N.J. LBR 9013-3(d) and the relief

 requested may be granted without further notice or hearing.

        PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these chapter

 11 cases may be obtained free of charge by visiting the website of Kroll Restructuring

 Administration, LLC at https://restructuring.ra.kroll.com/blockfi. You may also obtain copies of

 any pleadings by visiting the Court’s website at https://www.njb.uscourts.gov in accordance with

 the procedures and fees set forth therein.




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  Dated: December 19, 2022                       /s/ Michael D. Sirota
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                                                  Proposed Attorneys for Debtors and
                                                  Debtors in Possession




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     Proposed Attorneys for Debtors and
     Debtors in Possession


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BLOCKFI INC., et al.,                                          Case No. 22-19361 (MBK)

                                       Debtors.1                (Jointly Administered)



                 DEBTORS’ MOTION FOR ENTRY OF AN ORDER
         AUTHORIZING THE DEBTORS TO FILE UNDER SEAL THE NAMES
        OF CERTAIN CONFIDENTIAL TRANSACTION PARTIES IN INTEREST
      RELATED TO THE DEBTORS’ PROFESSIONAL RETENTION APPLICATIONS

            TO: THE HONORABLE CHIEF JUDGE MICHAEL B. KAPLAN UNITED STATES

 BANKRUPTCY COURT FOR THE DISTRICT OF NEW JERSEY




 1     The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
       LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
       (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service
       address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
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         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

 respectfully state the following in support of this motion (the “Motion”):

                                                 Relief Requested

         1.        The Debtors seek entry of an order, substantially in the form attached hereto as

 Exhibit A: (the “Order”): (a) authorizing the Debtors to (i) redact and file under seal the names of

 the Confidential Transaction Parties in connection with the Debtors’ Professional Applications

 (each as defined below), and (b) granting related relief.2

                                             Jurisdiction and Venue

         2.        The United States Bankruptcy Court for the District of New Jersey (the “Court”)

 has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

 Reference to the Bankruptcy Court Under Title 11, entered July 23, 1984, and amended on

 September 18, 2012 (Simandle, C.J.). The Debtors confirm their consent to the Court entering a

 final order in connection with this Motion to the extent that it is later determined that the Court,

 absent consent of the parties, cannot enter final orders or judgments in connection herewith

 consistent with Article III of the United States Constitution.

         3.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.        The bases for the relief requested herein are sections 105(a) and 107(b) of title 11

 of the United States Code (the “Bankruptcy Code”), rule 9018 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), and rules 9013-1 and 9018-1 of the Local Rules of the United

 States Bankruptcy Court for the District of New Jersey (the “Local Rules”).




 2   Additional evidence in support of the relief requested herein will be presented at the hearing on this Motion to the
     extent requested, and the Debtors will make reasonable efforts to share such evidence, if any, with the United
     States Trustee for the District of New Jersey (the “U.S. Trustee”) in advance of the hearing.


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                                                     Background

         5.       On November 28, 2022 (the “Petition Date”), each Debtor filed a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code.3 A detailed description of the Debtors, their

 businesses, and the facts and circumstances supporting the Debtors’ Chapter 11 Cases are set forth

 in greater detail in the First Day Declaration and incorporated by reference herein.

         6.       The Debtors are operating their businesses and managing their properties as debtors

 in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On November 29,

 2022, the Court entered an order [Docket No. 42] authorizing procedural consolidation and joint

 administration of these Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b). No request for

 the appointment of a trustee or examiner has been made in these Chapter 11 Cases.

                                      The Professional Applications

         7.       The Debtors are filing contemporaneously or soon thereafter herewith several

 applications to retain certain Professionals (as defined below) in these chapter 11 cases:

             Kirkland & Ellis LLP and Kirkland & Ellis International LLP (collectively,
              “Kirkland”), as attorneys for the Debtors (the “Kirkland Application”), together with
              an accompanying declaration from Joshua Sussberg, a partner of the law firm of
              Kirkland (the “Sussberg Declaration”);
             Haynes and Boone, LLP (“Haynes and Boone”), as attorneys for the Debtors
              (the “Haynes and Boone Application”), together with an accompanying declaration
              from Richard S. Kanowitz, a partner of the law firm of Haynes and Boone
              (the “Kanowitz Declaration”);
             Cole Schotz P.C. (“Cole Schotz”), as attorneys for the Debtors (the “Cole
              Schotz Application”), together with an accompanying declaration from Michael D.
              Sirota, a partner of the law firm of Cole Schotz (the “Sirota Declaration”);
             Berkeley Research Group, LLC (“BRG”), as restructuring advisor to the Debtors
              (the “BRG Application”), together with an accompanying declaration from Mark A.
              Renzi, a Managing Director of BRG (the “Renzi Declaration”);



 3   Debtor BlockFi International Ltd. is also subject to parallel joint provisional liquidation proceedings (for
     restructuring purposes), currently pending in the Supreme Court of Bermuda.


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              Moelis & Company, LLC (“Moelis”), as financial advisor to the Debtors
               (the “Moelis Application”), together with an accompanying declaration from Barak
               Klein, a Managing Director at Moelis (the “Klein Declaration”); and
              Kroll Restructuring Administration LLC (“Kroll” and collectively with Kirkland,
               Haynes and Boone, Cole Schotz, BRG, and Moelis, the “Professionals”), as
               administrative advisor to the Debtors (the “Kroll Application” collectively, with the
               Kirkland Application, the Haynes and Boone Application, the Cole Schotz Application,
               the BRG Application, and the Moelis Application, the “Professional Applications”),
               together with an accompanying declaration from Benjamin J. Steele, a Senior
               Managing Director at Kroll (the “Steele Declaration” collectively, with the Sussberg
               Declaration, the Kanowitz Declaration, the Sirota Declaration, the Renzi Declaration,
               and the Klein Declaration, the “Professional Declarations”).

         8.       In connection with their proposed retention, the Professionals searched names and

 entities to determine whether any potential conflicts or other relationship exists that preclude the

 Professionals from meeting the disinterestedness standard under the Bankruptcy Code. As such,

 included with the Professional Declarations are schedules setting forth the names and entities

 searched by the Professionals and the results of such searches.4

         9.       To protect the Debtors’ commercially sensitive information while providing the

 necessary disclosures required under the Bankruptcy Code and the Bankruptcy Rules, the

 Professionals disclosed in their schedules their relationships with certain of the Debtors’ potential

 transaction counterparties (the “Confidential Transaction Parties”) without disclosing the names

 of such entities and individuals.

         10.      The Debtors are currently engaged in an active and ongoing marketing process

 among certain potential transaction counterparties for a value-maximizing transaction. Due to the



 4   The Debtors note that certain of the names and entities searched by the Professionals have been redacted on the
     publicly filed schedules pursuant to that certain Interim Order Granting Debtors’ Emergency Motion for Entry of
     an Order (I) Authorizing the Debtors to File a Consolidated List of Top 50 Unsecured Creditors and Consolidated
     List of Creditors, (II) Authorizing the Debtors to Redact Certain Personally Identifiable Information of Individual
     Creditors, Clients, Equity Holders, and Current and Former Employees, (III) Authorizing Client Name Redaction,
     (IV) Waiving the Requirement to File an Equity List and Provide Notices Directly to Equity Security Holders, and
     (V) Granting Related Relief [Docket No. 53].


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 inherently competitive nature of this process, revealing potential counterparties may chill the

 marketing process by preventing current potential counterparties from moving forward with

 negotiations and deterring potential counterparties from getting involved in the sale process.

 Moreover, certain of the Confidential Transaction Parties have executed non-disclosure

 agreements with the Debtors that require that their identities remain confidential, and disclosure

 of their identities may unduly disrupt the Debtors’ efforts to consummate a value-maximizing

 transaction. Disclosing the identities of the potential counterparties before a transaction is

 negotiated in violation of the underlying confidentiality agreements could severely hamper the

 sensitive negotiations between the Debtors and the potential counterparties, to the detriment of the

 marketing process, and interfere with the Debtors’ ability to maximize value for the benefit of their

 estates and all stakeholders.

         11.    Importantly, the Professionals have not represented and will not represent any of

 the Confidential Transaction Parties in connection with any matter in these chapter 11 cases. Thus,

 the Professionals’ connections to the Confidential Transaction Parties do not preclude the

 Professionals from meeting the disinterestedness standard under section 327(a) of the Bankruptcy

 Code.

         12.    The Debtors will also provide the U.S. Trustee with an unredacted version of the

 Professional Declarations in advance of the Hearing.

                                           Basis for Relief

   I.    Redacting the Names of the Confidential Transaction Parties is Warranted Under
         Section 107(b) of the Bankruptcy Code.

         13.    Section 107(b) of the Bankruptcy Code provides bankruptcy courts with authority

 to issue orders that will protect entities from potential harm that may result from the disclosure of

 certain confidential information. This section provides, in relevant part:

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         On request of a party in interest, the bankruptcy court shall, and on the bankruptcy
         court’s own motion, the bankruptcy court may:

                          (1)      protect an entity with respect to a trade secret or confidential
                                   research, development, or commercial information; or

                          (2)      protect a person with respect to scandalous or defamatory matter
                                   contained in a paper filed in a case under this title.5

         14.      Bankruptcy Rule 9018 defines the procedures by which a party may move for relief

 under section 107(b) of the Bankruptcy Code. Specifically, Bankruptcy Rule 9018 provides, in

 relevant part, that, upon motion, “the court may make any order which justice requires . . . to

 protect the estate or any entity in respect of a trade secret or other confidential research,

 development, or commercial information.” Fed. R. Bankr. P. 9018.

         15.      If the material sought to be protected satisfies one of the categories identified in

 section 107(b) of the Bankruptcy Code, “the court is required to protect a requesting party and has

 no discretion to deny the application.” Video Software Dealers Ass’n v. Orion Pictures Corp.

 (In re Orion Pictures Corp.), 21 F.3d 24, 27 (2d Cir. 1994) (emphasis in original). Stated

 differently, section 107(b) of the Bankruptcy Code does not require a party seeking its protections

 to demonstrate “good cause.” Orion Pictures, 21 F.3d at 28. “Courts have supervisory power over

 their records and files and may deny access to those records and files to prevent them from being

 used for an improper purpose.” In re Kaiser Aluminum Corp., 327 B.R. 554, 560 (D. Del. 2005).

 Courts are required to provide such protections “generally where open inspection may be used as

 a vehicle for improper purposes.” Orion Pictures, 21 F.3d at 27. Indeed, the “authority goes not

 just to the protection of confidential documents, but to other confidentiality restrictions that are

 warranted in the interests of justice.” See In re Glob. Crossing Ltd., 295 B.R. 720, 724 (Bankr.



 5   11 U.S.C. § 107(b) (emphasis added).


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 S.D.N.Y. 2003). Confidential commercial information “has been defined as information which

 would cause ‘an unfair advantage to competitors by providing them information as to the

 commercial operations of the debtor.’” In re Faucett, 438 B.R. 564, 567–68 (Bankr. W.D. Tex.

 2010) (quoting Orion Pictures Corp., 21 F.3d at 27). Commercial information need not rise to the

 level of a trade secret to be protected under section 107(b) of the Bankruptcy Code.6 Courts have

 also held that the resulting sealing order should be broad (i.e., “any order which justice requires”).

 See, e.g., In re Glob. Crossing, Ltd., 295 B.R. 720, 724 (Bankr. S.D.N.Y. 2003) (citing Fed. R.

 Bankr. P. 9018).

         16.       Moreover, courts have held that such confidential commercial information includes

 information related to a debtor’s contractual non-disclosure agreements. See In re Celsius Network

 LLC., No 22-10964 (Bankr. S.D.N.Y. Nov. 22, 2022) (authorizing the debtors to seal certain

 confidential parties related to a potential sale of the debtors’ assets); In re Voyager Digital

 Holdings, Inc., No 22-10943 (Bankr. S.D.N.Y. July 20, 2022) (authorizing the debtors to seal the

 names of certain confidential parties); In re Windstream Holdings, Inc., No. 19-22312

 (Bankr. S.D.N.Y. Aug. 2, 2022) (sealing confidential information in connection with a retention

 application filed by certain of the debtors’ proposed retained professionals); In re Carlson Travel,

 Inc., No. 21-90017 (Bankr. S.D. Tex. Jan. 10, 2022) (authorizing the debtors to seal identities of

 certain confidential parties pursuant to non-disclosure agreements); In re Washington Prime

 Group, Inc., No. 21-31948 (Bankr. S.D. Tex. July 23, 2021) (same).




 6   See In re Northstar Energy, Inc., 315 B.R. 425, 429 (Bankr. E.D. Tex. 2004) (“A bankruptcy court is required to
     seal ‘documentary information filed in court that does not rise to the level of a trade secret but that is so critical
     to the operations of the entity seeking the protective order that its disclosure will unfairly benefit that entity’s
     competitors.’”); see also Orion Pictures, 21 F.3d at 27–28 (holding that section 107(b)(1) creates an exception to
     the general rule that court records are open to examination by the public and, under this exception, an interested
     party must show only that the information it wishes to seal is “confidential” and “commercial” in nature).


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        17.     The Debtors submit that the names of the Confidential Transaction Parties

 contained in the schedules to the Professional Declarations constitutes confidential commercial

 information that may be protected under section 107(b) of the Bankruptcy Code and Bankruptcy

 Rule 9018. The Confidential Transaction Parties are participants in the Debtors’ efforts to

 negotiate a going-concern transaction for the benefit of all their stakeholders. The Debtors are

 required to maintain the confidentiality of the identities of certain of the Confidential Transaction

 Parties pursuant to non-disclosure agreements, and public disclosure of such identities may impair

 the negotiation process by chilling ongoing discussions and discouraging further engagement by

 other potential bidders. In either case, the Confidential Transaction Parties had an expectation of

 privacy and such expectation was reasonable, especially where Confidential Transaction Parties

 were required to enter into non-disclosure agreements in order to receive diligence related to any

 proposed transaction.    Due to the inherently competitive nature of such transactions, it is

 imperative that the identities of the Confidential Transaction Parties remain confidential, or parties

 will be discouraged from participating in future transactions with the Debtors.

        18.     Public disclosure of the Confidential Transaction Parties could also potentially

 harm innocent third parties who have no stake in these chapter 11 cases and have relied on the

 Debtors and the Professionals to keep their relationships confidential.         As set forth in the

 Professional Declarations, the Professionals will not represent any of the Confidential Transaction

 Parties in connection with any matter in these chapter 11 cases. Accordingly, the Debtors and the

 Professionals do not believe that the Professionals’ connections to the Confidential Transaction

 Parties in matters unrelated to the Debtors preclude the Professionals from meeting the

 disinterestedness standard under the Bankruptcy Code.




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         19.     The Professionals have recognized (and been responsive to) their disclosure

 obligations under the Bankruptcy Code and have narrowly tailored the request set forth in this

 Motion to protect only the kind of commercially sensitive information that is entitled to be

 protected under section 107 of the Bankruptcy Code. Indeed, the Professionals, collectively, have

 disclosed numerous connections to potential parties in interest and request authority to maintain

 the confidentiality of a limited number of Confidential Transaction Parties at this time, together

 with any future parties who (a) have executed nondisclosure agreements requiring the Debtors to

 maintain the confidentiality of their identities and/or (b) did not otherwise consent to the public

 disclosure of their identities.

         20.     As a result, the Debtors believe that, in addition to all that has been disclosed in the

 Professional Declarations, authorizing the names of the Confidential Transaction Parties to be filed

 under seal is the best method to ensure transparency with respect to information disclosure while

 still preventing the negative implications of public disclosure.

  II.    The Court Should Authorize the Professionals to Redact the Names of the
         Confidential Transaction Parties.

         21.     The Debtors request authority for the Debtors and the Professionals to file redacted

 versions of the names of the Confidential Transaction Parties in the Professional Declarations. The

 Debtors will provide the Court, the U.S. Trustee, and counsel to any statutorily formed committees

 with unredacted versions of the Professional Declarations. The Debtors further request that the

 Order authorizing the seal remain for the duration of these chapter 11 cases so as not to frustrate

 the purpose of the Order.

         22.     This proposed format for disclosure is carefully tailored to provide appropriate

 levels of information in these cases while still maintaining confidentiality of “commercial

 information” where truly necessary.

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                                          No Prior Request

        23. No prior request for the relief sought in this Motion has been made to this Court or any

 other court.

                                 Waiver of Memorandum of Law

        24.     The Debtors respectfully request that the Court waive the requirement to file a

 separate memorandum of law pursuant to Local Rule 9013-1(a)(3) because the legal basis upon

 which the Debtors rely is set forth herein and the Motion does not raise any novel issues of law.

                                               Notice

        25.     The Debtors will provide notice of this Motion to the following parties and/or their

 respective counsel, as applicable: (a) the office of the United States Trustee for the District of

 New Jersey; (b) the Debtors’ 50 largest unsecured creditors (on a consolidated basis); (c) United

 States Attorney’s Office for the District of New Jersey; (d) the Internal Revenue Service;

 (e) the U.S. Securities and Exchange Commission; (f) the attorneys general in the states where the

 Debtors conduct their business operations; and (g) any party that has requested notice pursuant to

 Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

 other or further notice need be given.


                            [Remainder of page intentionally left blank.]




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        WHEREFORE, the Debtors respectfully request that the Court enter the order, in

 substantially the form submitted herewith, granting the relief requested herein and such other relief

 as is just and proper under the circumstances.

  Dated: December 19, 2022                           /s/ Michael D. Sirota
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

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     In re:                                                              Chapter 11

     BLOCKFI INC., et al.,                                               Case No. 22-19361 (MBK)

              Debtors.1                                                  (Jointly Administered)




        ORDER AUTHORIZING THE DEBTORS TO FILE UNDER SEAL THE
     NAMES OF CERTAIN CONFIDENTIAL TRANSACTION PARTIES IN INTEREST
     RELATED TO THE DEBTORS’ PROFESSIONAL RETENTION APPLICATIONS

 1      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
        LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
        (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service
        address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
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      The relief set forth on the following pages, numbered three (3) through five (5), is

 ORDERED.
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 Debtors:                  BLOCKFI INC., et al.
 Case No.                  22-19361 (MBK)
 Caption of Order:         ORDER AUTHORIZING THE DEBTORS TO FILE UNDER SEAL THE
                           NAMES OF CERTAIN CONFIDENTIAL TRANSACTION PARTIES IN
                           INTEREST RELATED TO THE DEBTORS’ PROFESSIONAL
                           RETENTION APPLICATIONS

         Upon the Debtors’ Motion for Entry of an Order Authorizing the Debtors to File Under

 Seal the Names of Certain Confidential Transaction Parties in Interest Related to the Debtors’

 Professional Retention Applications (the “Motion”),2 of the above-captioned debtors and debtors

 in possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) authorizing the

 Debtors to redact and file under seal the names of the Confidential Transaction Parties, and

 (b) granting related relief, all as more fully set forth in the Motion; and upon the First Day

 Declaration and the declaration submitted in support of the Motion; and the Court having

 jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157

 and 1334 and the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the

 United States District Court for the District of New Jersey, entered July 23, 1984, and amended on

 September 18, 2012 (Simandle, C.J.); and this Court having found that venue of this proceeding

 and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

 having found that the relief requested in the Motion is in the best interests of the Debtors’ estates,

 their creditors, and other parties in interest; and this Court having found that the Debtors’ notice

 of the Motion was appropriate under the circumstances and no other notice need be provided; and

 this Court having reviewed the Motion and having heard the statements in support of the relief

 requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

 that the legal and factual bases set forth in the Motion establish just cause for the relief granted




 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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 Debtors:               BLOCKFI INC., et al.
 Case No.               22-19361 (MBK)
 Caption of Order:      ORDER AUTHORIZING THE DEBTORS TO FILE UNDER SEAL THE
                        NAMES OF CERTAIN CONFIDENTIAL TRANSACTION PARTIES IN
                        INTEREST RELATED TO THE DEBTORS’ PROFESSIONAL
                        RETENTION APPLICATIONS

 herein; and upon all of the proceedings had before the Court and after due deliberation and

 sufficient cause appearing therefor IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED on a basis as set forth herein.

        2.      The Debtors are authorized, pursuant to sections 105(a) and 107(b) of

 the Bankruptcy Code, to (i) file the Professional Declarations and any documents related thereto

 in a form redacted as to the names and identifiable information of the Confidential Transaction

 Parties, and (ii) file the unredacted versions of the Professional Declarations under seal pursuant

 to section 107(b) of the Bankruptcy Code, Bankruptcy Rule 9018, and Local Rule 9018-1.

        3.      The unredacted versions of the Professional Declarations shall not be made

 available to any party (other than those specified in paragraph 4 of this Order) without the Debtors’

 written consent, may not be filed on the public docket, and shall remain under seal until further

 order of the Court.

        4.      The Debtors are authorized to cause the unredacted versions of the Professional

 Declarations and any documents related thereto to be served on and made available, on a

 confidential basis, to: (a) the Court; (b) the U.S. Trustee; (c) counsel to any statutorily formed

 committees, subject to agreed confidentiality protocols or by further order of the Court; and

 (d) any other party as may be ordered by the Court or agreed to in writing by the Debtors and the

 Professionals, in each case under appropriate confidentiality agreements reasonably satisfactory to

 the Debtors and the Professionals, that preserve the confidentiality of the names of the Confidential

 Transaction Parties (and any information derived therefrom).



                                                  4
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 Debtors:               BLOCKFI INC., et al.
 Case No.               22-19361 (MBK)
 Caption of Order:      ORDER AUTHORIZING THE DEBTORS TO FILE UNDER SEAL THE
                        NAMES OF CERTAIN CONFIDENTIAL TRANSACTION PARTIES IN
                        INTEREST RELATED TO THE DEBTORS’ PROFESSIONAL
                        RETENTION APPLICATIONS

        5.      For the avoidance of doubt, this Order is without prejudice to the rights of the

 U.S. Trustee or any party in interest to seek to unseal the Professional Declarations, or any part

 thereof.

        6.      Any party who receives the names of the Confidential Transaction Parties in

 accordance with this Order shall not disclose or otherwise disseminate this information to any

 other person or entity, including in response to a request under the Freedom of Information Act.

        7.      The requirements of Local Rule 9018-1 is satisfied by the contents of the Motion

 or otherwise deemed waived.

        8.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

        9.      The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.




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